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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                             TALLAHASSEE DIVISION

RITA HALL,

        Plaintiff,
                                                            CASE NO. 4:17-cv-00467-RH-CAS
vs.

DARRYL CHERRY, MICHAEL MCCORD,
JAMES JENNISON, GUARDED EXCHANGE,
L.L.C., and DEFENDANT JOHN DOES 1-10,

        Defendant.
                                                                 /

      DEFENDANT GUARDED EXCHANGE’S ANSWER AND DEFENSES
                TO SECOND AMENDED COMPLAINT

        Defendant Guarded Exchange, L.L.C., files this answer and states as follows.1

        1.      Admitted that this purports to be a claim under the Stored

Communications Act; otherwise denied. Guarded Exchange denies all liability.

        2.      Without knowledge; therefore, denied.

        3.      Without knowledge; therefore, denied.

        4.      Without knowledge; therefore, denied.

        5.      Without knowledge; therefore, denied.




1
 The numbered paragraphs of this answer correspond to the numbered paragraphs of the Second Amended
Complaint.
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      6.     Admitted that Guarded Exchange is a foreign limited-liability company

that is authorized to transact business in Florida; otherwise denied.

      7.     Denied that Defendant Jennison is currently an employee of Guarded

Exchange; denied that Defendant Jennison was or has ever been a “contract

employee” of the Florida Department of Corrections (FDOC); otherwise, denied.

      8.     Admitted that the Court has subject-matter jurisdiction; denied that a

valid claim is asserted or that Guarded Exchange is liable to Plaintiff.

      9.     Admitted that venue and jurisdiction are appropriate in the U.S. District

Court for the Northern District of Florida; denied that any acts of misconduct

occurred and denied that Guarded Exchange is liable to Plaintiff.

      10.    Without knowledge; therefore, denied.

      11.    Without knowledge; therefore, denied.

      12.    Without knowledge; therefore, denied.

      13.    Admitted that Defendant Jennison was a “Cellebrite Certified Forensic

Technician” with Guarded Exchange; denied that Defendant Jennison was an

employee of FDOC; admitted that at all material times, Defendant Jennison was

working for Guarded Exchange; otherwise denied.

      14.    Admitted that Guarded Exchange provides certain investigative

services including digital forensics to FDOC; otherwise denied.

      15.    Without knowledge; therefore, denied.


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      16.    Without knowledge; therefore, denied.

      17.    Admitted.

      18.    Without knowledge; therefore, denied.

      19.    Admitted that a document is attached as Exhibit A; otherwise denied.

      20.    This a legal conclusion that does not require an answer; to the extent an

answer is required: denied.

      21.    Without knowledge; therefore, denied.

      22.    Without knowledge; therefore, denied.

      23.    Without knowledge; therefore, denied.

      24.    Without knowledge; therefore, denied.

      25.    As to all of the sentences except the last sentence, without knowledge;

therefore, denied. As to the last sentence of the paragraph: denied.

      26.    Without knowledge; therefore, denied.

      27.    Without knowledge; therefore, denied.

      28.    Denied.

      29.    Denied.

      30.    Without knowledge; therefore, denied.

      31.    Denied.

      32.    Admitted that a document is attached as Exhibit B; otherwise denied.

      33.    Admitted that a document is attached as Exhibit C; otherwise denied.


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       34.    Admitted that a document is attached as Exhibit D; otherwise denied.

       35.    Denied.

       36.    This a legal conclusion that does not require an answer; to the extent an

answer is required: denied.

       37.    Denied.

       38.    Denied.

  Count I: Violation of the Stored Communications Act (Defendants Cherry,
                      McCord, Jennison, and John Does)

       39.    Guarded Exchange restates its answers to paragraphs 1 through 38 as if

fully set forth here.

       40.    Denied.

       41.    Denied.

       42.    Denied.

       43.    As to the allegations regarding Defendants Cherry, McCord, and John

Does 1-10, without knowledge; therefore, denied. All other allegations are denied.

       44.    Denied.

       45.    Denied.

       46.    Denied.

       47.    Admitted that Guarded Exchange is responsible for the conduct of its

employees acting within the scope of their employment; otherwise denied.

       48.    Denied.
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             Count II: Violation of the Stored Communications Act
                        (Defendant Guarded Exchange)

       49.    Guarded Exchange restates its answers to paragraphs 1 through 38 as if

fully set forth here.

       50.    Denied.

       51.    Denied.

       52.    Denied.

       53.    Admitted that Defendant Jennison conducted certain activities within

the scope of his then employment with Guarded Exchange; denied that either

Defendant Jennison or Guarded Exchange violated any laws or is otherwise liable to

Plaintiff.

       54.    Admitted.

       55.    Denied.

       56.    Denied.

       57.    Denied.

       58.    This a legal conclusion that does not require an answer; to the extent an

answer is required: admitted that Guarded Exchange is responsible for the conduct

of its employees acting within the scope of their employment; otherwise denied.

       59.    Admitted that Defendant Jennison conducted certain activities within

the scope of his employment; denied that either Defendant Jennison or Guarded

Exchange violated any laws or is otherwise liable to Plaintiff.
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      60.   Denied.

                             Denial of Relief Request
      Guarded Exchange denies that Plaintiff is entitled to any relief sought in the

ad damnum clauses or elsewhere in the Second Amended Complaint.

                                      Defenses

                                   First Defense

      Plaintiff fails to state a claim upon which relief can be granted.

                                  Second Defense

      Plaintiff has not suffered any damage.

                                   Third Defense

      Plaintiff consented to any search of the State-owned equipment provided to

her for work use only.

                                  Fourth Defense

      Guarded Exchange did not access the wires, airwaves, cell towers, or any

servers such that the Stored Communications Act would be implicated.

                                   Fifth Defense

      At all material times, Guarded Exchange acted in good-faith compliance with

the express and specific direction of FDOC and is entitled to the benefit of any

defense that could have been raised by FDOC.




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                                     Sixth Defense

      Plaintiff has no expectation of privacy in electronic communications sent or

received from her employer-issued cellphone.

                                  Seventh Defense

      Plaintiff assumed the risk that all data on a State-owned cellphone would be

accessed by the State at any time.

                                     Eight Defense

      Upon information and belief, Plaintiff herself is the cause of her injury, if any,

as she violated the terms of her employment that prohibit employees from accessing

personal- or third-party-email accounts utilizing State resources, including State-

issued cellular devices.

                                     Ninth Defense

      To the extent Plaintiff has been damaged, the damage was caused by persons

other than Guarded Exchange.

                                     Tenth Defense

      Plaintiff failed to mitigate her damage, if any occurred.

                                 Eleventh Defense

      Any damages recovery by Plaintiff from Guarded Exchange is barred under

the doctrine of qualified immunity.




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                          Reservation of Right to Amend

      Guarded Exchange reserves the right to amend its answer and defenses,

subject to Court approval, as further investigation and discovery may warrant or as

otherwise allowed by law.

      WHEREFORE, having denied all liability, Guarded Exchange requests that

judgment be entered in its favor and against Plaintiff, together with an award to

Guarded Exchange of attorneys’ fees, costs, and such other relief as is just and proper

under applicable law.

      DATED this 31st day of July 2018.


                                        /s/ Eduardo S. Lombard
                                        Eduardo S. Lombard
                                        Florida Bar No. 0153590
                                        Megan S. Reynolds
                                        Florida Bar No. 0042000

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                                        L.L.C.




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                         CERTIFICATE OF SERVICE

      I certify that the foregoing was filed electronically on July 31, 2018, using the

Court’s CM/ECF system, which will send a notice of this filing to:


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                                              Counsel for Defendant Darryl Cherry

                                       /s/ Eduardo S. Lombard
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